      Case 2:17-cr-00101-WFN       ECF No. 282   filed 06/30/17   PageID.753 Page 1 of 1




 1                          UNITED STATES DISTRICT COURT
 2                       EASTERN DISTRICT OF WASHINGTON
 3
 4   UNITED STATES OF AMERICA,                        No. 2:17-CR-0101-WFN-5

 5                        Plaintiff,                  ORDER GRANTING
 6                                                    DEFENDANT’S MOTION
                          v.                          TO MODIFY PRETRIAL RELEASE
 7                                                    CONDITIONS
 8   FEDERICO RAMOS-PEREZ,
 9
                          Defendant.
10
11          BEFORE THE COURT is Defendant’s June 30, 2017, Motion to Modify
12   Pretrial Release Conditions. ECF No. 281. Defendant seeks permission to travel
13   to the state of Idaho for employment purposes.
14          Defendant indicates neither the United States Probation Office nor the
15   Government object to Defendant’s request. ECF No. 281 at 2.
16          IT IS ORDERED that the Defendant’s motion to modify the conditions of
17   his pretrial release, ECF No. 281, is GRANTED.
18          Defendant may travel to the state of Idaho for purposes of employment.
19          Prior to leaving the district, Defendant must provide Pretrial Services with
20   specific information as to how he can be contacted at any time that he is out of the
21   district.
22          All other terms and conditions of pretrial release not inconsistent herewith
23   shall remain in full force and effect.
24          IT IS SO ORDERED.
25          DATED June 30, 2017.
26
27                                 _____________________________________
                                             JOHN T. RODGERS
28                                  UNITED STATES MAGISTRATE JUDGE

     ORDER - 1
